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                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA



     ELIZABETH SINES ET AL.                              :      Case No. 3:17-CV-72

                    Plaintiff                            :      Judge MOON


                                                         :
           -v-

     JASON KESSLER ET AL.                                :

                                                         :
                    Defendants



             BRIEF IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL



           In support of their motion to withdraw, Counsel state as follows:

           1. Vanguard America appears not to have cooperated with undersigned

                 Attorneys instructions or requests regarding discovery obligations as to

                 electronically stored information, including the recent Show Cause Order

                 issued by the Court (DE 452.)

           2. Mr. Kolenich had a detailed, though privileged, phone call with Vanguard on

                 March 20, 2019 regarding the Show Cause order.

           3. Mr. Kolenich previously had detailed, though privileged, discussions with

                 Vanguard regarding the electronic discovery process.

           4. Vanguard does not appear to have complied with existing Court orders

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               regarding electronically stored information nor has it provided undersigned

               Attorneys with information that would show cause why they should be

               excused from same or even provided additional time to comply.

            5. This being the case, it is not possible for undersigned Attorneys to provide any

               useful professional services to Vanguard, nor are we willing do so.

            6. It is fundamentally unfair to the several clients who are reasonably

               participating in this litigation for undersigned Attorneys to have to waste time

               and effort on a client who appears to be unwilling to assist their own legal

               representatives in defending this otherwise very winnable case.



    Therefore, Attorneys Elmer Woodard and James E. Kolenich respectfully request to be

    permitted to withdraw as counsel for defendant Vanguard America.




                                                 Respectfully Submitted,


                                                 s/ Elmer Woodard
                                                 ELMER WOODARD (VSB 27734)
                                                 5661 US Hwy 29




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                                                Blairs, Va. 24527
                                                (434) 878-3422
                                                isuecrooks@comcast.net
                                                Trial Attorney for Vanguard

                                                S/ James E. Kolenich (PHV)
                                                KOLENICH LAW OFFICE
                                                9435 Waterstone Blvd. #140
                                                Cincinnati OH 45249
                                                Phone: 513.444.2150
                                                Fax: 513.297.6065
                                                e-mail: Jek318@gmail.com
                                                Trial Attorney for Vanguard

                                   CERTIFICATE OF SERVICE

        I hereby certify this Notice and all accompanying documents were served via the
        Court’s ECF system on July 23, 2018 upon:

        All parties of record.

        Parties not served via CM/ECF were served as follows:

    Loyal White Knights of the Ku Klux Klan a/k/a : Loyal White Knights Church of the
    Invisible Empire, Inc.
    c/o Chris and Amanda Barker 2634 U.S. HWY 158 E
    Yanceyville, NC 27379

    Moonbase Holdings, LLC c/o Andrew Anglin
    P.O. Box 208 Worthington, OH 43085

    Andrew Anglin
    P.O. Box 208 Worthington, OH 43085

    East Coast Knights of the Ku Klux Klan a/k/a East Coast Knights of the
    True Invisible Empire 26 South Pine St.
    Red Lion, PA 17356

    Fraternal Order of the Alt-Knights c/o Kyle Chapman
    52 Lycett Circle Daly City, CA 94015

    Augustus Sol Invictus 9823 4th Avenue
    Orlando, FL 32824


    Elliot Kline eli.f.mosley@gmail.com

    Matthew Heimbach matthew.w.heimbach@gmail.com
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        Vanguard America via e-mail at REDACTED.


                                                   s/ James E. Kolenich

                                                   James E. Kolenich




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